Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 1 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 2 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 3 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 4 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 5 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 6 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 7 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 8 of 36
Case 14-12458-jkf   Doc 538   Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document     Page 9 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 10 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 11 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 12 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 13 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 14 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 15 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 16 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 17 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 18 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 19 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 20 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 21 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 22 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 23 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 24 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 25 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 26 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 27 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 28 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 29 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 30 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 31 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 32 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 33 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 34 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 35 of 36
Case 14-12458-jkf   Doc 538    Filed 09/09/16 Entered 09/09/16 10:04:48   Desc Main
                              Document      Page 36 of 36
